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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MINNESOTA
________________________________________________________________________

UNITED STATES OF AMERICA,

                    Plaintiff,

v.                                              Case No. 17-cv-136 (PAM/FLN)

KLEINBANK,

                    Defendant.

______________________________________________________________________


                        MEET AND CONFER STATEMENT

      Aurora Bryant, attorney for the United States, hereby makes the following

statement pursuant to Local Rule 7.1(a):

      Between April 13 and April 18, 2018, the United States met and conferred with

Defendant KleinBank by email and telephone regarding the United States’ Motion to

Enter a Redacted Report and Recommendation, ECF No. 51, and Unseal the Order on

KleinBank’s Motion to Dismiss, ECF No. 71. On April 17, 2018, contingent on the

United States seeking the limited redaction in the R&R as set forth in the motion, counsel

for KleinBank represented that Defendant does not oppose the United States’ motion.




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Dated: April 17, 2018               JOHN GORE
                                    Acting Assistant Attorney General
                                    Civil Rights Division


                                    /s/ Aurora Bryant
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